  Case 2:17-cr-20151-TLP Document 42 Filed 06/28/17 Page 1 of 1                    PageID 109




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

United States of America,

       Plaintiff,

vs.                                                         Criminal No. 17-20151-JTF

TONJA HOSEY, et al,

       Defendants.

                                  NOTICE OF LIS PENDENS

RECORD OWNER:            Tonja Hosey

       Notice is hereby given that the United States of America has brought an action in the United

States Court for the Western District of Tennessee, Western Division, seeking to forfeit the

following described real property, its buildings, improvements, appurtenances, fixtures,

attachments, and easements: defendant real property commonly known as One Parcel of Real

Property Located at 8770 Oak Ridge Drive, Walls, Mississippi 38680, with All Appurtenances

and Improvements Thereon, record owner Tonja M. Hosey and more particularly decribed as:

       Lot 12, Oak Ridge Estates Subdivision, in Section 24, Township 1 South, Range 9
       West, Desoto County, Mississippi, as per plat thereof recorded in Plat Book 23,
       Pages 10-11, in the office of the Chancery Clerk of Desoto County, Mississippi to
       which plat reference is made for a more particular description.

       DATED: this 28th day of June , 2017.


                                                            Respectfully submitted,

                                                            LAWRENCE J. LAURENZI
                                                            Acting United States Attorney



                                                     By:    s/ Kevin P. Whitmore
                                                            KEVIN P. WHITMORE
                                                            Assistant United States Attorney
                                                            901-544-4231
